     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 1 of 56 Pageid#: 581

                                                                                   02/19/2020

                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF VIRGINIA
                                       Charlottesville Division

          KIERAN RAVI BHATTACHARYA,                           )
                                                              )
                               Plaintiff,                     )
          v.                                                  )
                                                              )
          JAMES B. MURRAY JR., in his official capacity )
          as Rector of the Board of Visitors of the           )
          University of Virginia; WHITTINGTON W.              )
          CLEMENT, in his official capacity as Vice Rector )
          of the Board of Visitors of the University of       )
          Virginia; ROBERT M. BLUE; MARK T.                   )
          BOWLES; L.D. BRITT, M.D., M.P.H.; FRANK             )
          M. CONNER III; ELIZABETH M.                         )
          CRANWELL; THOMAS A. DEPASQUALE;                     )
          BARBARA J. FRIED; JOHN A. GRIFFIN;                  )        Civil Action No.
          LOUIS S. HADDAD; ROBERT D. HARDIE;                  )   3:19-CV-00054-NRM-JCH
          MAURICE A. JONES; BABUR B. LATEEF,                  )
          M.D.; ANGELA HUCLES MANGANO; C.                     )   JURY TRIAL DEMANDED
          EVANS POSTON JR.; JAMES V. REYES; and               )
          PETER C. BRUNJES, in their respective official )
          capacities as Members of the Board of Visitors of )
          the University of Virginia; TIMOTHY LONGO           )
          SR., in his official capacity as Chief of Police of )
          the University of Virginia; MELISSA                 )
          FIELDING, in her official capacity as Deputy        )
          Chief of Police of the University of Virginia;      )
          JOHN J. DENSMORE, M.D., Ph.D., in his               )
          official capacity as Associate Dean for Admissions )
          and Student Affairs of the University of Virginia   )
          School of Medicine; and JIM B. TUCKER, M.D., )
          in his official capacity as Chair of the Academic   )
          Standards and Achievement Committee of the          )
          University of Virginia School of Medicine; and      )
          CHRISTINE PETERSON, M.D., Assistant Dean )
          for Medical Education of the University of          )
          Virginia School of Medicine; NORA KERN,             )
          M.D.; and SARA K. RASMUSSEN, M.D., Ph.D., )
          each in her official and individual capacity,       )
                                                              )
                                Defendants.                   )

                                   FIRST AMENDED COMPLAINT


4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 2 of 56 Pageid#: 582




                   Plaintiff Kieran Ravi Bhattacharya (“Mr. Bhattacharya”), by counsel, respectfully states as

        for his First Amended Complaint against the following Defendants: (1) the Rector, Vice Rector,

        and Members of the Board of Visitors of the University of Virginia, all of whom are named in their

        respective official capacities (collectively, the “Board of Visitors Defendants”), along with Timothy

        Longo, Sr., Interim Chief of Police of the University of Virginia, who is named in his official

        capacity (“Mr. Longo”), and Melissa Fielding, Deputy Chief of Police of the University of Virginia,

        who is named in her official capacity (“Ms. Fielding”) (collectively, the “University Defendants”);

        (2) John J. Densmore, M.D., Ph.D., Associate Dean for Admissions and Student Affairs, University

        of Virginia School of Medicine (“Dean Densmore”), and Jim B. Tucker, M.D., Chair of the

        Academic Standards and Achievement Committee, University of Virginia School of Medicine (“Dr.

        Tucker”), each of whom is named in his official capacity (collectively, the “UVA Med School

        Defendants”); and (3) Christine Peterson, M.D., Assistant Dean for Medical Education, University

        of Virginia School of Medicine (“Dean Peterson”), Nora Kern, M.D., Assistant Professor of

        Urology, University of Virginia School of Medicine (“Professor Kern”), and Sara K. Rasmussen,

        M.D., Ph.D., Associate Professor, University of Virginia School of Medicine (“Professor

        Rasmussen”), each of whom is named in both her official and individual capacity (collectively, the

        “Individual Co-Conspirators”).

                                             NATURE OF THE ACTION

                   1.     This Complaint seeks redress for the violation of Plaintiff’s constitutional rights by

        the University of Virginia, which was founded more than 200 years ago by Thomas Jefferson.

        Before founding the University of Virginia—during the time that ratification of the Constitution was

        being debated—Mr. Jefferson wrote a December 20, 1787 letter to James Madison expressing the

        view that “a bill of rights is what the people are entitled to against every government on earth, general


                                                            1
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 3 of 56 Pageid#: 583




        or particular, and what no just government should refuse.” Of the various provisions of the Bill of

        Rights that later became part of the Constitution of the United States, the First Amendment’s

        guarantee of free speech is of paramount importance to the mission of any public university,

        including the University of Virginia. Ever since enactment of the Fourteenth Amendment in 1868,

        the guarantees of free speech and due process have applied with equal force to the several States—

        including the Commonwealth of Virginia and state agencies such as the University of Virginia.

                   2.   If its treatment of Mr. Bhattacharya is any indication, however, the University that

        Mr. Jefferson founded now seems to think that it is above the law of the land, including the Bill of

        Rights. The UVA Med School Defendants—acting in concert, combination, and conspiracy with

        the Individual Co-Conspirators—have acted to deprive and have in fact deprived Mr. Bhattacharya

        of his right to free speech protected by the First Amendment and his right to due process protected

        by the Fourteenth Amendment.

                   3.   Before the UVA Med School Defendants and the Individual Co-Conspirators

        violated and conspired to violate his civil rights, Mr. Bhattacharya was a student enrolled in the

        University of Virginia School of Medicine (“UVA Med School”). All that changed, however, as a

        result of Mr. Bhattacharya’s questions and comments during an October 25, 2018 panel discussion

        on “microaggression” (the “AWMA Microaggression Panel Discussion”) sponsored by the newly

        formed UVA Med School chapter of the American Medical Women’s Association (“AMWA”).1 At

        the time of the October 25, 2018 AWMA Microaggression Panel Discussion, Mr. Bhattacharya was

        a second-year medical student in good standing at UVA Med School. Nevertheless—in retaliation

        for his questions and comments at the AWMA Microaggression Panel Discussion to which the


        1
         Since October 25, 2018, the AMWA has posted on its website a description of the AMWA Microaggression Panel
        Discussion proclaiming it to have been a “success.” A printout of the website posting under the heading “New
        AMWA Chapter at the University of Virginia — First Event a Success!” (https://www.amwa-doc.org/news/new-
        amwa-chapter-at-the-university-of-virginia) is attached as Exhibit 1.
                                                              2
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 4 of 56 Pageid#: 584




        Individual Co-Conspirators objected—Mr. Bhattacharya was disciplined, suspended, and ultimately

        banished altogether from UVA Med School. As a result, Mr. Bhattacharya is now unable to pursue

        his chosen career in medicine.

                   4.   The organizers of the AWMA Microaggression Panel Discussion included two of the

        Individual Co-Conspirators, Professors Kern and Rasmussen, both of whom were also panelists at

        the October 25, 2018 event. Following a presentation by a Professor of Psychology at the University

        of Virginia—Beverly Colwell Adams, Ph.D. (“Professor Adams”)—Mr. Bhattacharya asked

        questions and made comments that organizers of the AWMA Microaggression Panel Discussion

        later characterized as “antagonistic.” The audio recording of the AMWA Microaggression Panel

        Discussion (attached as Exhibit 2) demonstrates that this characterization is neither fair nor accurate.

        The audio recording establishes that Mr. Bhattacharya and the speaker, Professor Adams, had a

        rational and calm discussion about the theory of microaggression. The only person whose behavior

        was questionable was one of the two AMWA members on the panel, Individual Co-Conspirator

        Professor Rasmussen. Professor Rasmussen interrupted the dialogue between Mr. Bhattacharya and

        Professor Adams, launched into a diatribe about microaggressions that she personally had

        experienced as a native of West Virginia, and raised her voice in anger at Mr. Bhattacharya before

        cutting him off altogether. Ultimately, however, it is immaterial whether UVA Med School’s

        characterization of Mr. Bhattacharya’s questions and comments as “antagonistic” is a fair one. The

        First Amendment does not permit the government to censor speech that it considers to be

        antagonistic.

                   5.   Unfortunately for Mr. Bhattacharya, Professor Rasmussen’s angry outburst at the

        AMWA Microaggression Panel Discussion was just the beginning rather than the end of UVA Med

        School’s efforts—so far successful—to silence and punish anyone who dared to even question the


                                                           3
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 5 of 56 Pageid#: 585




        theories being espoused that day. Beginning immediately after the event, UVA Med School

        responded to Mr. Bhattacharya’s dissident speech in a way that would make the rulers of the former

        Soviet Union proud. That same day, one of Professor Rasmussen’s colleagues at UVA Med School

        who was also a member of the AMWA Microaggression Panel Discussion—Individual Co-

        Conspirator Professor Kern—surreptitiously lodged a “professionalism concern” complaint against

        Mr. Bhattacharya, citing him for asking a “series of questions that were quite antagonistic toward

        the panel.” Meanwhile—without ever disclosing that his record now included a “professionalism

        concern” citation as required by UVA Med School’s own policies and procedures— Individual Co-

        Conspirator Dean Peterson “invited” Mr. Bhattacharya to a meeting for the stated purpose of

        “help[ing] you understand and be able to cope with unintended consequences of conversations.”

        Although Dean Peterson never disclosed this during their subsequent meeting on October 31, 2018,

        one of the “unintended consequences” to which she was referring included the formal discipline that

        Mr. Bhattacharya was soon to receive. This discipline was the result of two later meetings of UVA

        Med School’s Academic Standards and Achievement Committee (“ASAC” or the “Committee”) in

        which Dean Peterson participated even though she is not now and was not at the time a member of

        the Committee.

                   6.   The first such Committee meeting, which took place on November 14, 2018, was a

        secret meeting to consider the “professionalism concern” complaint lodged by Professor Kern, who

        also happened to be a member of the Committee and—along with Dean Peterson—was present for

        its deliberations. During this meeting, of which Mr. Bhattacharya had no notice, the Committee did

        not bother to listen to the actual audio recording of the AMWA Microaggression Panel Discussion.

        Instead, the Committee relied upon Professor Kern’s characterization of Mr. Bhattacharya’s

        questions and comments as the basis for its decision to reprimand Mr. Bhattacharya.


                                                        4
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 6 of 56 Pageid#: 586




                   7.   The reprimand took the form of a letter the following day signed by Committee Chair

        Dr. Tucker. By correspondence dated November 15, 2018, UVA Med School admonished Mr.

        Bhattacharya to “show mutual respect to all” and “express [his opinions] in appropriate ways” and

        advised him to “consider getting counseling” to improve his communication skills. By the end of

        Thanksgiving break, however, UVA Med School’s advice to “consider getting counseling” had

        become a prerequisite for Mr. Bhattacharya to continue his medical school education. On November

        26, 2018, Mr. Bhattacharya was notified by email that he needed to be evaluated by a counselor or

        psychiatrist before he could return to his classes at UVA Med School. The following day, November

        27, 2018, Mr. Bhattacharya was notified that he could not resume his studies until he had undergone

        psychological evaluation and received “medical clearance.”

                   8.   Two days later—following a hastily convened “emergency” meeting of the

        Academic Standards Committee—Mr. Bhattacharya received correspondence dated November 29,

        2018 notifying him that he had been suspended from UVA Med School until August 2019 because

        “your aggressive and inappropriate interactions in multiple situations, including in public settings,

        during a speaker’s lecture, with your Dean, and during the committee meeting yesterday, constitute

        a violation of the School of Medicine’s Technical Standards.” Thereafter, Mr. Bhattacharya was

        denied the opportunity to appeal the one-year suspension or apply for readmission because the

        University of Virginia issued a no trespass warning to Mr. Bhattacharya for a four-year period. In

        short, Mr. Bhattacharya’s comments and questions during the AMWA Microaggression Panel

        Discussion—“antagonistic” or not—resulted in his permanent exile to the UVA Med School

        equivalent of Siberia.




                                                         5
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 7 of 56 Pageid#: 587




                                                      PARTIES

                                                      (Plaintiff)

                   9.    Kieran Ravi Bhattacharya (“Mr. Bhattacharya”) is an individual who resides at 70

        Hale Pili Way, Haiku, Hawaii 96708. Mr. Bhattacharya was a student at the University of Virginia

        School of Medicine before his suspension and dismissal as alleged in this Complaint.

                                            (The University Defendants)

                   10.   The University of Virginia is a public university owned and operated by the

        government of the Commonwealth of Virginia.

                   11.   The Rector, Vice Rector, and Members of the Board of Visitors of the University of

        Virginia (collectively, the “Board of Visitors Defendants”) are, and were at all times relevant to this

        Complaint, officials of the University of Virginia responsible for the adoption and enforcement of

        policies applicable to students attending the University of Virginia—including policies to ensure

        that students’ rights of free speech and due process are protected.

                   12.   Timothy Longo, Sr., Interim Chief of Police of the University of Virginia (“Mr.

        Longo”), is responsible for overseeing safety and security functions of the University of Virginia

        and enforcing no trespass orders.

                   13.   Melissa Fielding, Deputy Chief of Police of the University of Virginia (“Ms.

        Fielding”), was at all times relevant to this Complaint a member of the police force at the University

        of Virginia with responsibility for overseeing safety and security functions of the University of

        Virginia.

                   14.   Each of the Board of Visitors Defendants, Mr. Longo, and Ms. Fielding (collectively,

        the “University Defendants”) is sued in his or her official capacity for injunctive and declaratory

        relief and for damages resulting from the acts and omissions alleged in this Complaint.


                                                          6
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 8 of 56 Pageid#: 588




                                       (The UVA Med School Defendants)

                   15.   John J. Densmore, M.D., Ph.D. (“Dean Densmore”) is Associate Dean for

        Admissions and Student Affairs, University of Virginia School of Medicine.

                   16.   Jim B. Tucker, M.D. (“Dr. Tucker”) is Chair of the Academic Standards and

        Achievement Committee of the University of Virginia School of Medicine.

                   17.   The University of Virginia School of Medicine (“UVA Med School”) is a public

        medical college that is part of the University of Virginia.

                   18.   Dean Densmore and Dr. Tucker (collectively, the “UVA Med School Defendants”)

        are both members of the faculty and administration of UVA Med School responsible for the adoption

        and enforcement of policies applicable to students attending UVA Med School—specifically

        including UVA Med School’s Policy on Academic and Professional Enhancement and, more

        generally, policies to ensure that medical students’ rights of free speech and due process are

        protected.

                   19.   Each of the UVA Med School Defendants is sued in his official capacity for

        injunctive and declaratory relief and for damages resulting from the acts and omissions alleged in

        this Complaint.

                                        (The Individual Co-Conspirators)

                   20.   Christine Peterson, M.D. is Assistant Dean for Medical Education, University of

        Virginia School of Medicine (“Dean Peterson”).

                   21.   Nora Kern, M.D. (“Professor Kern”) is Assistant Professor of Urology at the

        University of Virginia School of Medicine and former member of the Academic Standards and

        Achievement Committee of the University of Virginia School of Medicine.

                   22.   Sara K. Rasmussen, M.D., Ph.D. (“Professor Rasmussen”) is an Associate Professor

        at the University of Virginia School of Medicine.
                                                         7
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 9 of 56 Pageid#: 589




                   23.   Professor Kern and Professor Rasmussen (collectively, the “Individual Co-

        Conspirators”) are both members of AMWA who helped organize and participated in the AMWA

        Microaggression Panel Discussion.

                   24.   As members of the faculty of UVA Med School, the Individual Co-Conspirators are

        required to comply with policies applicable to students attending UVA Med School—specifically

        including UVA Med School’s Policy on Academic and Professional Enhancement and, more

        generally, policies to ensure that medical students’ rights of free speech and due process are

        protected.

                   25.   With respect to Mr. Bhattacharya, however, the Individual Co-Conspirators

        subordinated their responsibilities to UVA Med School—including students and faculty alike—to

        their personal ideologies and prejudices and their loyalty to AMWA. Professor Kern and Professor

        Rasmussen acted in combination and conspiracy with other UVA Med School Defendants—

        including Dean Peterson—to deprive Mr. Bhattacharya of his constitutional rights of free speech

        and due process and to cause injury to Mr. Bhattacharya in his chosen profession. Dean Peterson

        also acted in combination and conspiracy with third parties to subvert and corrupt the activities of

        the Academic Standards and Achievement Committee and abuse its processes for improper

        purposes.

                   26.   Dean Peterson, Professor Kern, and Professor Rasmussen each had an independent

        personal stake in the foregoing conspiracy.

                   27.   Each of the Individual Co-Conspirators is sued in her official capacity for injunctive

        and declaratory relief and for damages resulting from the acts and omissions alleged in this

        Complaint.




                                                           8
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 10 of 56 Pageid#: 590




                    28.   Each of the Individual Co-Conspirators is also sued in her individual capacity for

        damages resulting from the acts and omissions alleged in this Complaint.

                                            JURISDICTION AND VENUE

                    29.   This civil rights action raises federal questions under the United States Constitution,

        particularly the First and Fourteenth Amendments, and the Civil Rights Act of 1871, 42 U.S.C. §§

        1983 and 1985(3).

                    30.   This Court has original jurisdiction over these federal claims pursuant to 28 U.S.C.

        §§ 1331 and 1343.

                    31.   This Court has authority to award the requested damages pursuant to 28 U.S.C. §§

        1343 and 42 U.S.C. §§ 1983 and 1985(3); the requested declaratory relief pursuant to 28 U.S.C. §§

        2201-02; the requested injunctive relief pursuant to 28 U.S.C. § 1343, 42 U.S.C. § 1983, and Fed.

        R. Civ. P. 65; and costs and attorneys’ fees pursuant to 42 U.S.C. § 1988(b).

                    32.   Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) because the acts

        conduct described in this Complaint occurred in this district.

                                        FACTS COMMON TO ALL COUNTS

                      (Before His Attendance at the AMWA Microaggression Panel Discussion,
                   Mr. Bhattacharya Was a Medical Student in Good Standing at UVA Med School)

                    33.   Mr. Bhattacharya enrolled in UVA Med School and began the fall 2016 semester as

        a member of the Class of 2020 on August 4, 2016.

                    34.   During the fall 2016 semester, Mr. Bhattacharya participated in UVA Med School’s

        mandatory Social Issues in Medicine (“SIM”) course through shadowing and direct client contact at

        the Albemarle County Department of Social Services, Foster Care Unit. In the Agency Evaluation

        of Student attached as Exhibit 3, Supervisor Beckie Aderholz reported that Mr. Bhattacharya



                                                             9
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 11 of 56 Pageid#: 591




        attended all scheduled sessions, conformed to expectations with respect to different metrics, and

        received no negative responses.

                   35.      During the fall 2016 semester, Mr. Bhattacharya participated in Team-Based

        Learning (“TBL”) exercises and received five Student Performance Evaluations (hereinafter “SPE”)

        from five medical students in Mr. Bhattacharya’s six-person TBL team for that semester. Three of

        the five medical students rated Mr. Bhattacharya’s TBL performance as “Frequently exceeds

        expectations;” one medical student rated Mr. Bhattacharya’s TBL performance as “Meets and

        sometimes exceeds expectations;” and one medical student rated Mr. Bhattacharya’s TBL

        performance as “Meets expectations.” All five of Mr. Bhattacharya’s SPEs from TBLs in the fall

        2016 Semester are attached as Exhibit 4, which has been redacted to remove personal identifiers of

        each of the other five medical students in Mr. Bhattacharya’s TBL group.

                   36.      During the fall 2016 semester, Mr. Bhattacharya participated in Clinical Performance

        Development (“CPD”) 1A and received one SPE from his CPD mentor, Andrew Wolf, MD (“Dr.

        Wolf”). In this SPE, attached as Exhibit 5, Dr. Wolf marked “Strongly Agree” with respect to the

        following assertions:

                            a.     “The student participates in and contributes to small group discussion”

                            b.     “The student is willing to help others in the group”

                            c.     “The student exhibits humanism, compassion, and empathy during small

                   group”

                            d.     “The student demonstrates engagement in the SIM community service

                   experience”

                            e.     “The student demonstrates awareness of the political and economic forces

                   that impact the delivery of health care”


                                                              10
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 12 of 56 Pageid#: 592




                          f.      “The student demonstrates awareness of the socio-cultural forces that impact

                   the delivery of health care.”

                   37.    On December 18, 2016, Mr. Bhattacharya completed the fall 2016 semester at UVA

        Med School in good academic standing as a member of the Class of 2020.

                   38.    Mr. Bhattacharya began the spring 2017 semester at UVA Med School on January 2,

        2017 as a member of the Class of 2020.

                   39.    On February 7, 2017, Mr. Bhattacharya took a one-year leave of absence (the “LOA”)

        from UVA Med School. On the University of Virginia Official Withdrawal Form, attached as

        Exhibit 6, Plaintiff cited his reason for withdrawal as “Personal.”

                   40.    During Mr. Bhattacharya’s LOA from UVA Med School in 2017, he engaged in a

        number of activities related to his career objective of becoming a medical doctor. These include the

        following:

                          a.      On September 30, 2017, Mr. Bhattacharya presented—in conjunction with a

                   former UVA Med School classmate—an abstract that the two of them had co-authored at the

                   Fourth Annual Symposium on Academic Interventional Radiology in Washington, D.C.

                          b.      On November 7, 2017, Mr. Bhattacharya presented—in conjunction with a

                   former UVA Med School classmate—a poster that the two of them had co-authored entitled

                   “Characterization of trends in medical student indebtedness with current and potentially new

                   repayment options for young physicians” at the Sixteenth Annual Medical Student Research

                   Symposium at UVA Med School.

                          c.      Throughout 2017, Mr. Bhattacharya authored—in conjunction with a former

                   UVA Med School classmate—a paper entitled “Endovascular Management of Acute

                   Mesenteric Ischemia,” the findings of which the two of them presented orally at the 43rd


                                                           11
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 13 of 56 Pageid#: 593




                   Annual Scientific Meeting of Society of Interventional Radiology on March 19, 2018 in Los

                   Angeles.

                          d.      Throughout 2017, Mr. Bhattacharya authored a textbook chapter entitled

                   “Special Considerations: Revision Anterior Cruciate Ligament” that was published in 2018

                   in the first edition of the textbook entitled ACL Injuries in Female Athletes.

                          e.      Throughout 2017, Mr. Bhattacharya authored a textbook chapter entitled

                   “Head and Spine Diagnosis and Decision Making” that was published in the fifth edition of

                   Delee, Drez, and Miller’s Orthopaedic Sports Medicine in 2019.

                          f.      Throughout 2017, Mr. Bhattacharya edited and contributed to a manuscript

                   entitled “Endovascular Management of Acute Mesenteric Ischemia” that was accepted for

                   publication in the Annals of Gastroenterology on August 13, 2019 and published online on

                   September 26, 2019 (https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6826075).

                   41.    Mr. Bhattacharya returned to UVA Med School on January 3, 2018 to begin the

        spring 2018 semester as a member of the Class of 2021.

                   42.    During the spring 2018 semester, Mr. Bhattacharya participated in TBL exercises and

        received five SPEs from five medical students in Mr. Bhattacharya’s six-person TBL. Three of the

        five medical students rated Mr. Bhattacharya’s TBL performance as “Frequently exceeds

        expectations;” and two medical students rated Mr. Bhattacharya’s TBL performance as “Meets and

        sometimes exceeds expectations.” All five complete SPEs from the spring 2018 Semester are

        attached as Exhibit 7, which has been redacted to remove personal identifiers of each of the other

        five medical students in the TBL group.




                                                             12
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 14 of 56 Pageid#: 594




                   43.   During the spring 2018 semester, Mr. Bhattacharya participated in CPD 1B and

        received one SPE (attached as Exhibit 8) from his CPD mentor, James Moak, MD (hereinafter “Dr.

        Moak”).

                   44.   A “Professionalism Concern Card” (“PCC”) at UVA Med School is punitive

        administrative action taken against medical students for a variety of forms of misconduct, including

        unexcused absences and violations of professionalism. According to UVA Med School’s Policy on

        Academic and Professional Enhancement (Exhibit 9), “Any breach of professionalism resulting in

        a recorded observation, e.g., Professionalism Concern Card, letter, written report, etc., must be

        addressed with the student by their college dean and documentation of the discussion must be

        recorded.”

                   45.   During the spring 2018 semester, at 10:52 a.m. on May 4, 2018, an attendance

        monitor submitted the Professionalism Concern Card attached as Exhibit 10 (the “First

        Professionalism Concern Card”) to Mr. Bhattacharya’s medical student file.                 The First

        Professionalism Concern Card stated as follows with respect to Mr. Bhattacharya: “Student did not

        attend the required Patient Presentation on May 2, 2018.” In the First Professionalism Concern Card,

        the attendance monitor reported that he or she did not notify Mr. Bhattacharya of this concern card;

        that he or she did not feel uncomfortable in reporting this concern card to Mr. Bhattacharya; and that

        he or she did not request to be contacted about the action taken.

                   46.   Mr. Bhattacharya did not become aware of the First Professionalism Concern Card

        until after receiving his medical student file more than seven and a half months later on December

        20, 2018.




                                                         13
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 15 of 56 Pageid#: 595




                   47.   Contrary to the report contained in the First Professionalism Concern Card, Mr.

        Bhattacharya in fact attended the May 2, 2018 patient presentation but was not recorded as present

        due to a lapse in Mr. Bhattacharya’s subscription to UVA Med School’s attendance technology.

                   48.   By way of background, attendance at UVA Med School is monitored using

        technology known as “Turning Point Login.” As of the May 2, 2018 patient presentation, Mr.

        Bhattacharya’s subscription to Turning Point Login had expired during his LOA in calendar year

        2017. At that time, Mr. Bhattacharya was notified of the lapse in his subscription by Dr. Mary Kate

        Warden (“Dr. Warden”)—a “system leader” for the area of study for which the May 2, 2018 patient

        presentation was focused—and Mr. Bhattacharya promptly resolved the issue with UVA Med

        School’s technical support.

                   49.   Notwithstanding Mr. Bhattacharya’s resolution of the subscription issue and

        communication of the resolution to Dr. Warden, the attendance monitor did not rescind the First

        Professionalism Concern Card. Again, Mr. Bhattacharya had no knowledge at the time that the First

        Professionalism Concern Card had even been recorded in his medical student file.

                   50.   Mr. Bhattacharya was unaware of the existence of the First Professionalism Concern

        Card because neither Dean Densmore nor any other faculty or staff member of UVA Med School

        ever notified him of its existence or discussed it with him as required by UVA Med School’s Policy

        on Academic and Professional Enhancement.

                   51.   On May 27, 2018, Mr. Bhattacharya completed the spring 2018 semester at UVA

        Med School in good academic standing as a member of the Class of 2021.

                   52.   On July 30, 2018, Mr. Bhattacharya began the fall 2018 semester at UVA Med School

        as a member of the Class of 2021.




                                                         14
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 16 of 56 Pageid#: 596




                   53.   Mr. Bhattacharya was in good standing at UVA Med School as of October 25, 2018,

        when he attended the AMWA Microaggression Panel Discussion.

          (During the Question and Answer Period at the AMWA Microaggression Panel Discussion,
            Mr. Bhattacharya Politely Challenged Certain Statements by a Professor of Psychology
                      Before Professor Rasmussen Interrupted the Exchange in Anger)

                   54.   The official title of the AMWA Microaggression Seminar was “Microaggressions:

        Why are ‘They’ So Sensitive?” The AMWA website description of the event (https://www.amwa-

        doc.org/news/new-amwa-chapter-at-the-university-of-virginia), entitled “New AMWA Chapter at

        the University of Virginia — First Event a Success!” (Exhibit 1), conflates “microaggression” with

        “gender harassment” and “gender inequity,” describing it as follows:

                         One of the goals for University of Virginia AMWA Chapter’s first
                         semester as a chapter was to highlight the micro-aggressions female
                         medical students and providers can face in the workplace, and
                         subsequently equip our classmates with tools to both handle these
                         issues in the moment as well as report them. We approached this in
                         two ways. First, we collected anonymous stories of micro-
                         aggressions/gender harassment from medical students at UVA, and
                         got an amazing, yet terribly sad, volume of responses. We collected
                         all the stories and put up a display in our student lounge so that our
                         classmates could read the responses and reflect on them. Second, we
                         arranged a panel of three incredible female faculty to speak on micro-
                         aggressions and how they handle them in the workplace. Dr. Beverly
                         Adams, a psychology professor from the College of Arts and Sciences
                         opened up our lecture by discussing the history, definitions, and her
                         personal research on micro-aggressions. This was followed by Dr.
                         Nora Kern and Dr. Sara Rasmussen, two powerhouse female surgeons
                         at UVA discussing their personal experiences with gender inequity as
                         healthcare providers. Our event was attended by members of all
                         classes, and caught the attention of our college deans and directors of
                         education, prompting discussion within our administration about
                         harassment and how we can handle it better as an institution. The
                         UVA chapter hopes that publicizing this event will help other chapters
                         hold similar events and prompt discussion nation-wide!

                   55.   If the reaction of Professors Kern and Rasmussen is any indication, however, the

        “discussion nation-wide” that AMWA’s UVA Med School chapter hoped to prompt was not

        intended to include any questions or comments perceived as critical of the theory of
                                                15
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 17 of 56 Pageid#: 597




        microaggression—even though it is in fact controversial.2 Following Professor Adams’ remarks,

        Individual Co-Conspirator opened the floor to questions and called upon Mr. Bhattacharya. His

        questions and comments had nothing to do with “gender harassment” or “gender inequity.” Nor

        were the content and tone of Mr. Bhattacharya’s questions and comments inappropriate as Professor

        Kern later claimed. The audio link of the exchange establishes that Mr. Bhattacharya’s questions

        and comments were logical and not something that should have prompted any concern—let alone

        retaliation or discipline—from either UVA Med School as an institution or the Individual Co-

        Conspirators.

                   56.    Mr. Bhattacharya asked four questions, as follows:

                          a.      Question #1: “Hello, thank you for your presentation. I had a few questions

                   just to clarify your definition of microaggressions. Is it a requirement to be a victim of

                   microaggression that you are a member of a marginalized group? In the definition it just said

                   you had to be a member of a marginalized group—in the definition you just provided it in

                   the last slide. So that’s contradictory.”

                          b.      Question #2: “Follow up question. Exactly how do you define marginalized

                   and who is a marginalized group. Where does that go? I mean it seems extremely non-

                   specific.”

                          c.      Question #3: “Third component about your definition of microaggression

                   and how you said ‘oh ha’ it is distinguished from rude statements you clarified that is because

                   the person who is receiving the microaggressions somehow knows the intention of the person

                   who made it. Somehow knows whether or not the person is educated, whether that person

                   actually is intentionally harming them or whether or not they are unintentionally harming


        2
         See, e.g., Althea Nagai, “The Pseudo-Science of Microaggressions,” Academic Questions (Spring 2017)
        (www.nas.org/academic-questions/30/1/the_pseudo_science_of_microaggressions), attached as Exhibit 11.
                                                               16
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 18 of 56 Pageid#: 598




                   them (1), (2) the distinguishing factor that we should also make between what a rude

                   statement is and what you are now defining as a microaggression is that a microaggression

                   is entirely dependent on how the person who is receiving it is reacting. It could be dependent

                   upon a previous relationship and it is not exactly what the person is saying. So the evidence

                   that you provided, and you said you studied this for years, which is just one anecdotal case,

                   I mean do you have—have you studied anything else about microaggression that you know

                   in the last few years.”

                          d.      Question #4: “Yeah but isn’t it really out of my control what hurts

                   somebody? I can’t control what offends. I can punch the air, and if that makes someone mad,

                   that’s really not my problem or fault. If I punch someone in the face, and it directly hurts

                   them, I incited at them, that is completely different. So, again, what is the basis for what you

                   are going to tell someone that they have committed a microaggression? You hear a story

                   from someone but how do you know that their interpretation is not subject to bias, that they

                   do not have a prejudice towards the person that they’re saying made it. I mean, where are

                   you getting this basis from? How are you studying this? And collecting evidence on this and

                   making presentations from it?”

                   57.    In response to Mr. Bhattacharya’s first three questions, Professor Adams took them

        in stride, providing answers that were logical and complete regardless of whether the entire audience

        found them to be persuasive. Individual Co-Conspirator Professor Rasmussen would not allow

        Professor Adams to answer Question #4. Instead, Professor Rasmussen interrupted, provided

        lengthy anecdotes about microaggressions that she had allegedly suffered as a native of West

        Virginia, and then—when Mr. Bhattacharya attempted to respond—raised her voice in anger and

        cut him off.


                                                             17
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 19 of 56 Pageid#: 599




                   58.   Rather than answer Question #4 or permit Professor Adams to do so, Professor

        Rasmussen provided the following anecdote(s) based on her personal experience:

                         I am from West Virginia and on my father’s side was sort of
                         transplanted to West Virginia but my mother’s side has been from
                         West Virginia since the 1700s. And growing up, I was privileged
                         enough to be able to go out of state to attend summer camps, and a
                         rejoining refrain I heard all the time was oh you don’t sound like
                         you’re from West Virginia. Or immediately lots of harmless jokes
                         like oh but you are wearing shoes, oh but you are here at this math
                         camp, oh but you’re a girl, why are you bothering to get a …. These
                         were all. You could argue it was said in good fun by people who don’t
                         know what they are saying. I grew up innocent to that and never
                         pushed back on it but I tell you when I got to residency and I saw how
                         people started thinking less of me because I was from a rural state. I
                         began to understand the impact of these microaggressions. It doesn’t
                         matter. You have to learn to uncouple the intent of what you are
                         saying and the impact it has on the audience. And you have to have a
                         responsibility on the impact of your actions. And if you make a
                         statement that someone considers insensitive, the first thing you can
                         say is oh my gosh that it wasn’t my intent. But don’t get frustrated
                         with that person for bringing it to your attention.

                   59.   In response to Professor Rasmussen, Mr. Bhattacharya stated: “I have to respond to

        that because I never talked about getting frustrated at a person for making the statement. I never

        would condone any statements that you are making like that. What I’m saying is that what you are

        providing is anecdotal evidence. That’s what you provided. That’s what she provided.”

                   60.   At that point, Professor Rasmussen raised her voice in anger, stated as follows: “No,

        I think she provided a lot of citations and the literature and I’m sorry…I was just reading your body

        language,” and then cut off Mr. Bhattacharya altogether, asking another student “Would you like to

        ask a question?”

                     (Immediately After the AMWA Microaggression Panel Discussion,
            the Two AMWA Members Who Participated in the Panel Discussion Conspired With
           Dean Peterson to Retaliate Against Mr. Bhattacharya for His Questions and Comments)

                   61.   Beginning shortly after the October 25, 2018 Microaggression Panel Discussion—

        and continuing through the November 14, 2018 and November 28, 2018 ASAC meetings that
                                                   18
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 20 of 56 Pageid#: 600




        resulted in official communications from UVA Med School censuring and later suspending Mr.

        Bhattacharya—the Individual Co-Conspirators collaborated with one another, with the UVA Med

        School Defendants, and with other UVA Med School faculty members and students who shared their

        personal ideology. The objective of the foregoing conspiracy was to punish Mr. Bhattacharya for his

        questions and comments during the AMWA Microaggression Panel Discussion and to deter others

        from questioning or challenging the ideology of the Individual Co-Conspirators. Dean Peterson also

        injected herself into the functions of ASAC for the improper purpose of abusing its disciplinary

        powers for personal reasons.

                   62.    The conduct in furtherance of this conspiracy included:

                          a.     emails from Dean Peterson to Mr. Bhattacharya that resulted in an October

                   31, 2018 meeting between her and Mr. Bhattacharya;

                          b.     inappropriate and unprofessional communications among Professor Kern,

                   Professor Rasmussen, and Dean Peterson with one another and third parties before and after

                   the October 31, 2018 meeting between Mr. Bhattacharya and Dean Peterson, and before and

                   after the November 14, 2018 and November 28, 2018 ASAC meetings in which Professor

                   Kern participated and which Dean Peterson attended as a “guest” even though she was not a

                   member of the Committee;

                          c.     the surreptitious submission by Professor Kern of a “Professionalism Concern

                   Card” to Mr. Bhattacharya’s UVA Med School student file and the wrongful concealment of

                   that submission by Professor Kern, Dean Peterson, and other UVA Med School

                   Defendants—including Dean Densmore—who had a duty to disclose it to Mr. Bhattacharya;

                   and




                                                           19
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 21 of 56 Pageid#: 601




                          d.     orchestrating the November 14, 2018 and November 28, 2018 ASAC

                   meetings described herein and the discipline against Mr. Bhattacharya that resulted from

                   these meetings.

        The evidence of this conspiracy includes email and text message traffic to and from Professor

        Rasmussen, Professor Kern, Dean Peterson, the UVA Med School Defendants, and others within

        UVA Med School to which Mr. Bhattacharya does not have access. The Individual Co-Conspirators,

        the UVA Med School Defendants, and UVA Med School had a duty to preserve and hopefully have

        preserved such evidence. To the extent that the Individual Co-Conspirators, the UVA Med School

        Defendants, and UVA Med School destroyed rather than preserved such evidence, Mr. Bhattacharya

        is entitled to adverse inferences with respect to the conspiracy.

                   63.    In furtherance of the conspiracy to violate Mr. Bhattacharya’s civil rights described

        herein, at 2:59 p.m. on October 25, 2018, Dean Peterson sent Mr. Bhattacharya the email attached

        as Exhibit 12 stating:

                          Kieran, I was at the noontime “Microaggressions” panel today and
                          observed your discomfort with the speaker’s perspective on the
                          topic. Would you like to come share your thoughts with me? I think
                          I can provide some perspective that will reassure you about what
                          you are and are not responsible for in interactions that could be
                          uncomfortable even when that’s not intended. If you’d prefer to talk
                          with your own college dean, that’s fine too. I simply want to help
                          you understand and be able to cope with unintended consequences
                          of conversations. Dr. Peterson

                   64.    Before receiving Dean Peterson’s October 25, 2018 email, Mr. Bhattacharya had

        never met or hand any other direct contact with Dean Peterson. The reference to “your own college

        dean” was to Dean Densmore, who—pursuant to UVA Med School’s Policy on Academic and

        Professional Advancement—was responsible for addressing Professor Kern’s Professionalism

        Concern Card with Mr. Bhattacharya and documenting that discussion. Although Mr. Bhattacharya


                                                           20
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 22 of 56 Pageid#: 602




        never had any prior communications with Dean Peterson, she had—unbeknownst to Mr.

        Bhattacharya at the time—been in contact with Professors Kern and Rasmussen and others about

        Mr. Bhattacharya’s questions and comments at the AMWA Microaggression Panel Discussion.

                   65.   By email that same day, October 25, 2018 at 4:30 p.m. (Exhibit 12), Mr.

        Bhattacharya responded to Dean Peterson’s October 25, 2018 as follows:

                         Your observed discomfort of me from wherever you sat was not at
                         all how I felt. I was quite happy that the panel gave me so much
                         time to engage with them about the semantics regarding the
                         comparison of microaggressions and barbs. I have no problems with
                         anyone on the panel; I simply wanted to give them some basic
                         challenges regarding the topic. And I understand that there is a wide
                         range of acceptable interpretations on this. I would be happy to meet
                         with you at your convenience to discuss this further.

        Dean Peterson’s response later that day stated in pertinent part: “Kieran, I understand. I don’t know

        you at all so I may have misinterpreted your challenges to the speaker.” The exchange closed with

        an agreement for the two of them to meet in Dean Peterson’s Student Health office at 4 p.m. on

        October 31, 2018.

                   66.   Once the meeting with Dean Peterson had been set, at 9:04 p.m. on October 25, 2018,

        Professor Kern issued the Professionalism Concern Card against Mr. Bhattacharya attached as

        Exhibit 13 (the “Second Professionalism Concern Card”). Professor Kern was a speaker at the

        AMWA Microaggression Panel Discussion who called on Mr. Bhattacharya to ask questions after

        the presentation but did not respond to any of his questions or comments—at least not to his face.

                   67.   The Second Professionalism Concern Card against Mr. Bhattacharya identified

        relevant areas of concern as “Respect for Others” and “Respect for Differences,” referred to Mr.

        Bhattacharya as “this student” and “med student,” and described the basis for it as follows:

                         For a AMWA session, we held a panel on microaggression. Myself
                         [sic] and 2 other faculty members were invited guests. This student
                         asked a series of questions that were quite antagonistic toward the

                                                           21
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 23 of 56 Pageid#: 603




                         panel. He pressed on and stated one faculty member was being
                         contradictory. His level of frustration/anger seemed to escalate until
                         another faculty member defused the situation by calling on another
                         student for questions. I am shocked that a med student would show
                         so little respect toward faculty members. It worries me how he will
                         do on wards.

                   68.   The supporting commentary from Professor Kern in the Second Professionalism

        Concern Card against Mr. Bhattacharya does not directly quote Mr. Bhattacharya, Professor

        Rasmussen, or Professor Adams from the 5 minutes and 20 seconds of available audio discussion

        among these three individuals.

                   69.   The Second Professionalism Concern Card stated that Professor Kern had not

        discussed her concerns with Plaintiff and that she did not feel uncomfortable discussing her concerns

        with Mr. Bhattacharya. When she issued the Professional Concern Card on October 25, 2018,

        Professor Kern did not disclose that she had reported its issuance to anyone other than the registrar

        at UVA Medical School who was the standard recipient of such concern card notifications at the

        email address som-studentaffairs@virgina.edu. In fact, however, Professor Kern disclosed her

        submission of the Professionalism Concern Card to others—including the other Individual Co-

        Conspirators—who used this information to punish Mr. Bhattacharya for his questions and

        comments at the AMWA Microaggression Panel Discussion with which they took issue. This

        Professionalism Concern Card was not made available to Mr. Bhattacharya until 56 days after its

        issuance as part of his medical student file that he received on December 20, 2018 following his

        suspension from UVA Med School on November 29, 2018.

                   70.   Professor Kern never notified Mr. Bhattacharya of the issuance of the Second

        Professionalism Concern Card and never spoke with him about it. In fact, Mr. Bhattacharya has no

        recollection of ever having spoken to Professor Kern at any time during his enrollment at UVA



                                                          22
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 24 of 56 Pageid#: 604




        Medical School. Nor has Professor Kern ever contacted Mr. Bhattacharya or been contacted by Mr.

        Bhattacharya for any reason during his enrollment at UVA Medical School.

                   71.   The day after Professor Kern submitted the Professionalism Concern Card to Mr.

        Bhattacharya’s medical student file, Mr. Bhattacharya received an email from Dean Densmore—the

        member of the UVA Med School faculty and administration who, under UVA Med School’s policies

        and procedures, was required to discuss the Professionalism Concern Card with Mr. Bhattacharya

        and document the discussion. In fact, he never did so that day or at any other time. On October 26,

        2018 at 1:12 p.m., Dean Densmore sent Mr. Bhattacharya the e-mail attached as Exhibit 14 stating:

        “Hi Kieran, I just wanted to check in and see how you are doing. I hope the semester is going well.

        I’d like to meet next week if you have some time. JJD.”

                   72.   In response, Mr. Bhattacharya agreed to meet with Dean Densmore at noon on

        November 1, 2018.

                   73.   The day before his scheduled meeting with Dean Densmore, Mr. Bhattacharya met

        with Dean Peterson as previously agreed. The meeting between Mr. Bhattacharya and Dean

        Peterson took place on October 31, 2018 beginning at 4 p.m. and lasted for approximately one hour.

        In addition to prying into Mr. Bhattacharya’s personal life, Dean Peterson spent much of their time

        together trying to ascertain Mr. Bhattacharya’s views on various social and political issues—

        including sexual assault, affirmative action, and the election of President Trump. Dean Peterson

        barely mentioned the ostensible purpose of the meeting, i.e., to discuss Mr. Bhattacharya’s questions

        and comments at the AMWA Microaggression Panel Discussion.                 At no time during Mr.

        Bhattacharya’s hour-long meeting with Dean Peterson on October 31, 2018 did she tell him about

        the Professionalism Concern Card against him that had been issued by Professor Kern.




                                                         23
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 25 of 56 Pageid#: 605




                   74.   The following day, November 1, 2018, Mr. Bhattacharya met with Dean Densmore

        as previously agreed. The meeting took place in Dean Densmore’s personal office starting at noon

        on November 1, 2018 and lasted approximately ten minutes. The scope of the discussion with Dean

        Densmore was limited to study strategies for UVA Med School’s “summative exams” and the United

        States Medical Licensing Exam (“USMLE”) Step 1, which Mr. Bhattacharya was scheduled to take

        on February 1, 2019.

                   75.   At no time during this November 1, 2018 meeting—or at any other time—did Dean

        Densmore inform Mr. Bhattacharya that Professor Kern had issued a Professionalism Concern Card

        against him. In fact, Dean Densmore did not even raise the issue of Mr. Bhattacharya’s questions

        and comments at the AMWA Microaggression Panel Discussion during the November 1, 2018

        meeting. Toward the end of the meeting, Mr. Bhattacharya himself brought up the fact that he had

        been called to meet with Dean Peterson the preceding day. At that point, Dean Densmore informed

        Mr. Bhattacharya that he was aware of the discussions with Dean Peterson. Dean Densmore did not

        inform Mr. Bhattacharya that he had anything to be concerned about. Again, he did not let Mr.

        Bhattacharya know about Professor Kern’s Professionalism Concern Card.

                   76.   After meeting with Dean Densmore on November 1, 2018, Mr. Bhattacharya had no

        reason to know, believe, or even suspect that there were any Professionalism Concern Cards in his

        medical student file. In fact, however, two Professionalism Concern Cards had been placed in Mr.

        Bhattacharya’s medical student file at the time of the November 1, 2018 meeting with Dean

        Densmore. Dean Densmore knew of the two Professionalism Concern Cards but affirmatively

        concealed their existence from Mr. Bhattacharya. By doing so, Dean Densmore violated UVA Med

        School’s Policy on Academic and Professional Advancement. No member of the faculty or

        administration of UVA Medical School ever informed Mr. Bhattacharya of and/or discussed with


                                                       24
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 26 of 56 Pageid#: 606




        Mr. Bhattacharya these two serious, punitive administrative decisions.          In both the First

        Professionalism Concern Card (Exhibit 10) issued by an attendance monitor and the Second

        Professionalism Concern Card issued by Professor Kern (Exhibit 13), the attendance monitor and

        Professor Kern did not report feeling uncomfortable discussing their concerns with Mr.

        Bhattacharya. Nevertheless, neither the attendance monitor nor Professor Kern ever reported these

        punitive administrative actions to Mr. Bhattacharya. Nor did they arrange to have anyone else report

        either or both of these Professionalism Concern Cards to Mr. Bhattacharya at any time during Mr.

        Bhattacharya’s enrollment at UVA Med School.

                     (Based Upon the “Professionalism Concerns” Raised by Professor Kern,
                      UVA Med School’s Academic Standards and Achievement Committee
                   Cited and Ultimately Suspended Mr. Bhattacharya for Being “Antagonistic”)

                   77.   Unbeknownst to Mr. Bhattacharya at the time, UVA Med School’s Academic

        Standards and Achievement Committee (“ASAC” or the “Committee”) met on November 14, 2018

        from 4:03 p.m. until 5:18 p.m. to discuss the Second Professionalism Concern Card that had been

        issued by Professor Kern, according to the meeting minutes attached as Exhibit 15.

                   78.   The November 14, 2018 Committee was presided over by UVA Med School

        Defendant Dr. Tucker, whose publicly available biography is attached as Exhibit 16. Dr. Tucker

        serves as the Chair of the Committee according to the UVA Med School Office of Student Affairs

        publication attached as Exhibit 17.

                   79.   Individual Co-Conspirator Professor Kern, whose publicly available biography is

        attached as Exhibit 18, was also present at the November 14, 2018 Committee meeting. The

        November 14, 2018 meeting minutes listed Professor Kern as a voting member of the Committee

        even though the Committee was voting upon Professor Kern’s Professionalism Concern Card that

        day.


                                                        25
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 27 of 56 Pageid#: 607




                   80.    In addition to Dr. Tucker and Professor Kern, the voting members of the Committee

        present for the November 14, 2018 meeting, according to the minutes, were as follows:

                          a.        Brian Behm, M.D., whose publicly available biography is attached as

                   Exhibit 19;

                          b.        Donna Chen, M.D., M.P.H., whose publicly available biography is attached

                   as Exhibit 20;

                          c.        Stephen Culp, M.D., Ph.D., whose publicly available biography is attached

                   as Exhibit 21;

                          d.        Pamila Herrington, M.D., whose publicly available biography is attached as

                   Exhibit 22;

                          e.        Nicolas Intagliata, M.D. whose publicly available biography is attached as

                   Exhibit 23;

                          f.        Wilson Miller, Ph.D., whose publicly available biography is attached as

                   Exhibit 24;

                          g.        Barnett R Nathan, M.D., whose publicly available biography is attached as

                   Exhibit 25;

                          h.        Catherine Shaffrey, M.D., whose publicly available biography is attached as

                   Exhibit 26; and

                          i.        two students at UVA Medical School.

                   81.    Of the twelve voting members present for the November 14, 2018 ASAC meeting,

        Mr. Bhattacharya had previously had no contact with ten of them—including Dr. Tucker, who

        presided over the November 14, 2018 Committee meeting, and Professor Kern, whose

        “Professionalism Concern Card” was the subject of the meeting.


                                                             26
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 28 of 56 Pageid#: 608




                   82.    In addition to the voting members present for the November 14, 2018 ASAC meeting,

        the minutes reflect that the following four “non-voting members” were also present:

                          a.      Megan Bray, M.D. (“Dr. Bray”), whose publicly available biography is

                   attached as Exhibit 27;

                          b.      Lesley Thomas, Assistant Dean for Medical Education (“Dean Thomas”),

                   who—according to publicly available information from UVA Med School’s webpage on

                   “Medical Student Advocacy” attached as Exhibit 28—is “available to hear reports of

                   mistreatment,” including “reports involv[ing] sexism, racism, harassment, discrimination,

                   verbal abuse, and other types of unprofessional behavior directed at students;”

                          c.      Selina Noramly, Ph.D., Director of Academic Enhancement at UVA Med

                   School (“Dr. Noramly”), whose publicly available biography is attached as Exhibit 29; and

                          d.      Katherine Yates (“Ms. Yates”), who—according to the UVA Med School

                   Office of Student Affairs contact list attached as Exhibit 30—is the registrar and should be

                   contacted for “Clerkship Scheduling, Enrollment, Leaving and Returning from the

                   University.”

                   83.    Of the four non-voting members present for the November 14, 2018 ASAC meeting,

        Mr. Bhattacharya had previously had contact with only two of them—one of whom was the registrar,

        Ms. Yates, who kept the meeting minutes.

                   84.    In addition to the voting and non-voting members present for the November 14, 2018

        ASAC meeting, the minutes reflect that the following four “guests” were also present:

                          a.      David Charles Lewis, who is identified as “Business Intelligence Lead” on

                   the excerpt from UVA Med School’s website attached as Exhibit 31;




                                                            27
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 29 of 56 Pageid#: 609




                          b.      Lynne Fleming, Esq., whose available publicly available biography (Exhibit

                   32) identifies her as Associate University Counsel at the Office of the University Counsel

                   at the University of Virginia;

                          c.      Dean Peterson, whose publicly available biography is attached as Exhibit 33:

                   and

                          d.      Sean Reed, M.D. (“Dr. Reed”), whose publicly available biography is

                   attached as Exhibit 34.

                   85.    At no time on or before November 14, 2018 UVA Med School ASAC meeting did

        Mr. Bhattacharya have any direct contact or communication with any of the “guests” who were

        present except for Dean Peterson. Mr. Bhattacharya’s communications with Dean Peterson had been

        limited to the October 31, 2018 meeting described herein and the email exchanges preceding that

        meeting.

                   86.    The minutes of the November 14, 2018 UVA Med School ASAC meeting (Exhibit

        35), under the heading “Professionalism Issue,” state as follows:

                          Kieran Bhattacharya (Densmore) concern card for professionalism

                          – From the reporter: “For a AMWA session, we held a panel on micro
                          aggression. I and 2 other faculty members were invited guests. This
                          student asked a series of questions that were quite antagonistic toward
                          the panel. He pressed on and stated one faculty member was being
                          contradictory. His level of frustration/anger seemed to escalate until
                          another faculty member defused the situation by calling on another
                          student for questions. I am shocked that a med student would show so
                          little respect toward faculty members. It worries me how he will do on
                          wards.”

                          – One prior concern card (attendance of a mandatory activity).

                   87.    Except for the reference to the prior concern card, the November 14, 2018 meeting

        minutes track—verbatim—the language of the October 25, 2018 Professional Concern Card

        submitted by Professor Kern.
                                                            28
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 30 of 56 Pageid#: 610




                   88.   According to the minutes of the November 14, 2018 UVA Med School ASAC

        meeting: “The committee voted unanimously to send Kieran Bhattacharya (Densmore) a letter

        reminding him of the importance in medicine to show respect to all: colleagues, other staff, and

        patients and families.” The minutes do not reflect that Professor Kern abstained from voting as she

        was required to do.

                   89.   At no time during the November 14, 2018 meeting of the UVA Med School ASAC

        meeting did those present listen to any portion of the audio of the October 25, 2018 AMWA

        Microaggression Panel Discussion.

                   90.   At no time before or immediately after the November 14, 2018 ASAC meeting did

        anyone present inform Mr. Bhattacharya that Dr. Kern had issued a Professionalism Concern Card

        against him on October 25, 2018.

                   91.   On November 15, 2018, Dr. Tucker sent Mr. Bhattacharya correspondence by email

        (Exhibit 36) stating as follows:

                         Dear Mr. Bhattacharya:

                         The Academic Standards and Achievement Committee has received
                         notice of a concern about your behavior at a recent AMWA panel.
                         It was thought to be unnecessarily antagonistic and disrespectful.
                         Certainly, people may have different opinions on various issues, but
                         they need to express them in appropriate ways.

                         It is always important in medicine to show respect to all: colleagues,
                         other staff, and patients and their families. We would suggest that
                         you consider getting counseling in order to work on your skills of
                         being able to express yourself appropriately.

                         Sincerely,

                         Jim B. Tucker, M.D.

                   92.   Dr. Tucker’s recommendation that Mr. Bhattacharya “consider getting counseling”

        set forth in the November 15, 2018 letter on behalf on UVA Med School ASAC was not included in

                                                           29
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 31 of 56 Pageid#: 611




        the reminder that was unanimously voted upon by the Committee members on November 14, 2018

        according to the minutes taken by Ms. Yates.

                   93.   Dr. Tucker’s November 15, 2018 correspondence failed to disclose to Mr.

        Bhattacharya that it was Professor Kern who viewed Mr. Bhattacharya’s conduct as “antagonistic.”

                   94.   Dr. Tucker’s November 15, 2018 correspondence failed to disclose to Mr.

        Bhattacharya that Professor Kern had issued a Professionalism Concern Card against him on October

        25, 2018.

                   95.   Professor Kern was the only individual who was witness to the AMWA

        Microaggression Panel Discussion on October 25, 2018 and also present and voting at the UVA Med

        School ASAC meeting on November 14, 2018.

                   96.   At 5:45 p.m. on November 26, 2018, Dean Densmore sent Mr. Bhattacharya an email

        (Exhibit 37) stating: “Hi Kieran, I hope you’re doing well. We were notified by the Dean of

        Students Office that you were heading back to Charlottesville. You will need to be seen by CAPS

        before you can return to classes. Let me know if you have questions. Best regards, JJD.”

                   97.   “CAPS” is an acronym for “Counseling and Psychological Services” at the Elson

        Student Health Center of the University of Virginia. To receive treatment from CAPS, Mr.

        Bhattacharya would have to provide express written consent.

                   98.   In response to Dean Densmore’s email, Mr. Bhattacharya sent Dean Densmore an

        email (Exhibit 37) at 5:00 a.m. on November 27, 2018 stating as follows:

                         How can it be legal to mandate psychiatric evaluations to continue my
                         education?     “Public colleges responding to clearly protected
                         expressions by prescribing mandatory counseling or psychological
                         evaluation violates both students’ rights to free speech and private
                         conscience.” – Kelly Sarabyn, FIRE (Foundation for Individual
                         Rights in Education).



                                                          30
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 32 of 56 Pageid#: 612




        The Foundation for Individual Rights in Education (“FIRE”) was founded in 1999 and describes its

        mission (Exhibit 38) as being to “defend and sustain individual rights of students and faculty

        members at America’s colleges and universities. These rights include freedom of speech, freedom

        of association, due process, legal equality, religious liberty, and sanctity of conscience.”   The

        quotation in Mr. Bhattacharya’s November 27, 2018 email came from a December 31, 2007 article

        (Exhibit 39) by Kelly Sarabyn, an author for and contributor to FIRE, which stated in part:

                          Public colleges responding to clearly protected expressions by
                          prescribing mandatory counseling or psychological evaluation
                          violates both students’ rights to free speech and private conscience.
                          Unlike a suspension from school, which offends a student’s right to
                          free speech, ordering psychological counseling for protected speech
                          compounds the offense to the Constitution by violating both a
                          student’s right to free speech and his right to private conscience.

                   99.    UVA Med School apparently was not persuaded by the foregoing constitutional

        arguments. Instead, at 11:48 a.m. on November 27, 2018, Randolph J. Canterbury, M.D. (“Dr.

        Canterbury”) sent Mr. Bhattacharya an email (Exhibit 40) stating:

                          Dear Kieran, I have heard from Dr. Densmore that you have been
                          calling him about your desire to return to classes today. You are not
                          cleared to return to class until you have been evaluated by CAPS at
                          the Student Health Service. Do not attend your CPD group today.
                          Make an appointment with CAPS to initiate the medical clearance
                          process. Best regards, R.J. Canterbury, M.D.

        According to his publicly available biography (Exhibit 41), Dr. Canterbury is Professor of

        Psychiatric Medicine and Internal Medicine as well as Senior Associate Dean for Education at UVA

        Med School.

                   100.   At the time of Dr. Canterbury’s November 27, 2018 email and even to this day, Mr.

        Bhattacharya did not and still does not have any understanding or awareness as to the “medical

        clearance process” to which Dr. Canterbury’s email referred.



                                                           31
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 33 of 56 Pageid#: 613




                   101.   The following day, November 28, 2018, at 1:00 p.m., UVA Med School Registrar

        Ms. Yates sent Mr. Bhattacharya an email (Exhibit 42) stating as follows:

                          Hello Kieran, The Academic Standards and Achievement Committee
                          will be meeting today to discuss your current enrollment status. You
                          are invited to attend to share your insights with the committee. The
                          meeting will take place at 5:00 in the Claude Moore Medical
                          Education Building, in room G 165. Please arrive at 5:00. The
                          meeting has some business to attend to before they have questions for
                          you, so we will have someone waiting to let you know when they are
                          ready for you. Please reply and let us know if you will be in
                          attendance. Thank you, Katherine M. Yates.

                   102.   Within less than half an hour, at 1:28 p.m. on November 28, 2018, Mr. Bhattacharya

        responded to Ms. Yates with an email (Exhibit 43) stating: “Who exactly will be present? Do you

        normally just give students 3 hours to prepare after indirectly threatening to kick them from medical

        school? Why exactly is my enrollment status up for discussion?” Mr. Bhattacharya also asked

        whether he could have a lawyer present. Thereafter, Mr. Bhattacharya attempted to retain counsel

        but did not have sufficient time to obtain legal advice before the disciplinary hearing that afternoon

        or have a lawyer present.

                   103.   The only written response from Ms. Yates or anyone else at UVA Med School in

        advance of the ASAC meeting scheduled for 5:00 p.m. that day took the form of an email from Ms.

        Yates sent at 1:37 p.m. on November 28, 2018 (Exhibit 44) stating as follows:

                          Hello, Here is the information about the committee’s make up
                          policies, and procedures:

                          https://med.virginia.edu/student-affairs/policies/academic-standards-
                          and-achievement-committee-operating-procedures/

                          https://med.virginia.edu/student-affairs/policies/academic-standards-
                          achievement-policy/

                          https://med.virginia.edu/school-administration/standing-
                          committees/academic-standards-and-achievement-committee/

                          Regards,
                                                           32
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 34 of 56 Pageid#: 614




                           Katherine

                   104.    The materials linked to Ms. Yates’ email sent at 1:37 p.m. on November 28, 2018

        included the following provisions of the Academic Standards and Achievement Committee

        Operating Procedures (Exhibit 45) (the “Operating Procedures”) that the Committee violated that

        day:

                           a.      The introductory paragraph of the Operating Procedures concludes with the

                   following statement:

                                   Comprised of faculty in the school of medicine who do not
                                   assign final grades to students as well as student
                                   representatives, the role of ASAC is to promote students who
                                   meet these required standards, to recommend remedial action
                                   for those who do not meet the standards, and to suspend or
                                   recommend dismissal of those students who are incapable or
                                   who choose not to meet the required standards of achievement
                                   within the time frame allotted for completion of the M.D.
                                   degree.

                   It also declares:

                                   It is the policy of the School of Medicine to give every
                                   qualified and committed student the opportunity to graduate;
                                   however, the School reserves the right, in its sole and absolute
                                   discretion, to make judgments about who has or has not
                                   demonstrated the necessary qualification to earn a degree and
                                   to practice medicine competently.

                           b.      Section III.A. of the Operating Procedures states as follows:

                                   Official votes may be taken when a quorum (greater than 50%
                                   of the voting members) is present. All motions, except for a
                                   motion of dismissal, shall pass by a majority of voting
                                   members present. A motion for dismissal requires a two-thirds
                                   majority of voting members. Voting members will be recused
                                   from participating and shall not be counted in the quorum if
                                   they have (or have had) a personal, mentoring, or advising
                                   relationship with the student beyond that of usual student-
                                   faculty contact in class or clinical environment. This
                                   restriction includes faculty mentors on research projects,
                                   family members, anyone with a physician-patient relationship
                                   with the student or other personal relationship.
                                                             33
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 35 of 56 Pageid#: 615




                          c.     Section III.D. of the Operating Procedures states as follows:

                                 When there are severe professional transgressions or the
                                 Committee is to consider serious actions such as suspension or
                                 dismissal of a student, a final vote should be taken by the
                                 Committee only after the student has been offered an
                                 opportunity to address the Committee in person, and to
                                 respond to questions from members of the Committee. Also,
                                 the student should be notified by the Committee in writing as
                                 to what the major concerns of the Committee are likely to be
                                 during the coming meeting. Assistant Deans for Student
                                 Affairs (College Deans) as well as relevant teaching faculty
                                 may also be invited to attend committee meetings to provide
                                 information.

                          d.     The beginning portion of Section III.H. of the Operating Procedures states as

                   follows: “When a student addresses the Committee, the student will act as his or her own

                   advocate.”

                          e.     Section III.J. of the Operating Procedures states as follows:

                                 Guidelines and policies written in advance cannot cover all
                                 possible scenarios. When in doubt, the Committee should be
                                 guided by several important general principles, including:
                                 fairness to students; following due process; promptness of
                                 action and notification; maintaining confidentiality when
                                 possible; and, balancing the best interests of each student with
                                 its obligations to the Faculty, patients and to society to train
                                 graduates who demonstrate the highest standards or academic
                                 performance and conduct.

                   105.   At no time before its November 28, 2018 meeting did the Committee comply with

        Paragraph 3 of the “Professionalism” subsection of UVA Med School’s Policy on Academic and

        Professional Advancement (Exhibit 9).            Paragraph 3 states as follows: “Any breach of

        professionalism resulting in a recorded observation, e.g., Professionalism Concern Card, letter,

        written report, etc., must be addressed with the student by their [sic] college dean and documentation

        of the discussion must be recorded.” At the time that Mr. Bhattacharya received an email from Ms.

        Yates at 1:00 p.m. on November 28, 2018 notifying him of the ASAC disciplinary hearing that

                                                           34
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 36 of 56 Pageid#: 616




        afternoon, Mr. Bhattacharya had received no specific written notice or documentation from his

        college dean or anyone else at UVA Med School regarding either or both of the Professionalism

        Concern Cards that were in his student file at the time.

                   106.   Although Section III.D. of the Operating Procedures states that in instances in which

        the Committee is to consider serious actions such as suspension or dismissal of the student, “the

        student should be notified by the Committee in writing as to what the major concerns of the

        Committee are likely to be during the coming meeting,” Mr. Bhattacharya received no written

        notification of specific allegations in which he was expected to explain and/or defend against in

        advocating for his continued enrollment status at UVA Med School. As a result, Mr. Bhattacharya

        was effectively denied the opportunity to advocate for himself at the November 28, 2018 disciplinary

        hearing as contemplated by Section III.H. of the Operating Procedures. Moreover, the Committee

        cited Mr. Bhattacharya’s effort to advocate for himself as a basis for his suspension from UVA Med

        School.

                   107.   Although Mr. Bhattacharya responded to Ms. Yates within 28 minutes of receiving

        notice of the ASAC disciplinary hearing scheduled for later that day (November 28, 2018) and asked

        specifically what its rationale was, neither Ms. Yates nor any other member of the faculty or

        administration at UVA Med School provided Mr. Bhattacharya with any written statement of the

        allegations against him during the remaining 3 hours and 32 minutes that he had to prepare to

        advocate for his continued enrollment status at UVA Med School.

                   108.   In addition to his efforts to obtain additional information from Ms. Yates about the

        ASAC disciplinary hearing scheduled for the afternoon of November 28, 2018, Mr. Bhattacharya

        made nine telephone phone calls between 1:23 p.m. and 2:06 p.m. that day (Exhibit 46) to various

        members of the UVA Med School faculty and administration attempting to obtain more information


                                                           35
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 37 of 56 Pageid#: 617




        about what to expect and the potential consequences of the upcoming ASAC disciplinary hearing.

        During this time, Mr. Bhattacharya also attempted to contact an attorney in Charlottesville with

        whom he had previously spoken but was unable to obtain any advice before the ASAC disciplinary

        hearing or arrange for her presence on such short notice.

                   109.   In response to one of these calls, Mr. Bhattacharya received a telephone call at 2:12

        p.m. on November 28, 2018 (Exhibit 46) from Sean Reed, M.D. (“Dr. Reed”). During the call, Dr.

        Reed informed Mr. Bhattacharya of a Professionalism Concern Card resulting from Mr.

        Bhattacharya’s participation in the AMWA Microaggression Panel Discussion. In response to Mr.

        Bhattacharya’s statement that he was unaware of having received any Professionalism Concern

        Cards, Dr. Reed expressed doubt that Mr. Bhattacharya had not received such notice. In fact, at no

        time before or at the November 28, 2018 ASAC disciplinary hearing did Dr. Reed or any other

        member of the faculty or administration of UVA Med School provide Mr. Bhattacharya with a copy

        of the Professionalism Concern Card that had been issued against him or a description of its contents.

        During his November 28, 2018 telephone call with Dr. Reed, Mr. Bhattacharya informed Dr. Reed

        that he intended to record the meeting. Dr. Reed thanked Mr. Bhattacharya for providing this

        information.

                   110.   At 5:00 p.m. on November 28, 2018, Mr. Bhattacharya attended the ASAC

        disciplinary hearing to discuss his enrollment status. Mr. Bhattacharya documented the hearing via

        a photograph of the attendees (Exhibit 47) and an audio recording of the entire disciplinary hearing

        (Exhibit 48). The hearing lasted approximately 28 minutes.

                   111.   During the November 28, 2018 ASAC disciplinary hearing against Mr. Bhattacharya,

        Dr. Tucker referred—erroneously—to the statement in Dean Densmore’s November 26, 2018 email

        (Exhibit 37) that “[y]ou will need to be seen by CAPS” as merely a “recommendation” to be


                                                           36
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 38 of 56 Pageid#: 618




        evaluated by CAPS. Dr. Tucker refused to acknowledge his error even after Mr. Bhattacharya read

        the contents of the email out loud during the ASAC disciplinary hearing.

                   112.   According to the minutes of the November 28, 2018 ASAC disciplinary hearing

        (Exhibit 49), twelve voting members of the Committee were present. Nine of the twelve ASAC

        members present at the November 28, 2018 ASAC disciplinary hearing had also been present at the

        November 14, 2018 ASAC meeting. According to the minutes, these nine members were—in

        addition to UVA Med School Defendant Dr. Tucker and Individual Co-Conspirator Professor

        Kern—Dr. Behm, Dr. Chen, Dr. Intagliata, Dr. Miller, Dr. Nathan, Dr. Shaffrey, and one fourth year

        medical student.       However, Professor Kern is not in the photograph of attendees that Mr.

        Bhattacharya took on November 28, 2018 (Exhibit 47).

                   113.   The other three voting members of the Committee present at the November 28, 2018

        ASAC disciplinary hearing were:

                          a.     Roger Abounader, MD, PhD (“Dr. Abounader”), whose publicly available

                   biography is attached as Exhibit 50;

                          b.     Robert Bloodgood, PhD (“Dr. Bloodgood”), whose publicly available

                   biography is attached as Exhibit 51; and

                          c.     Sharon Diamond-Myrsten, M.D. (“Dr. Diamond-Myrsten”), whose publicly

                   available biography is attached as Exhibit 52.

        Before the November 28, 2018 ASAC disciplinary hearing, Mr. Bhattacharya had no prior direct

        contact with Dr. Abounader, Dr. Bloodgood, or Dr. Diamond-Myrsten.

                   114.   According to the minutes of the November 28, 2018 ASAC disciplinary hearing

        (Exhibit 49), four non-voting members of the Committee members who had been present for the

        November 15, 2018 ASAC meeting were also present during the November 28, 2018 disciplinary


                                                              37
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 39 of 56 Pageid#: 619




        hearing, along with three “guests,” as follows:                Plaintiff Mr. Bhattacharya, Individual Co-

        Conspirator Dean Peterson, and University Counsel Ms. Fleming.

                   115.   The minutes of the November 28, 2018 ASAC disciplinary hearing (Exhibit 49)

        contain five paragraphs under the heading “Professionalism Issues,” as follows.

                          a.      The first paragraph states:

                                  The committee convened to discuss concerning behaviors
                                  exhibited by Kieran Bhattacharya (Densmore) over the past
                                  weeks after members of the Technical Standards Committee
                                  determined that the concerns were best addressed by the
                                  ASAC. The ASAC convened an emergency meeting on
                                  Wednesday November 28. Kieran Bhattacharya was invited to
                                  attend the meeting to discuss his enrollment status and did
                                  attend the meeting.

                          b.      The second paragraph states: “The student was given the opportunity to

                   address concerns about his behavior. He asked questions of members of the Committee and

                   responded to questions asked by the Committee.”

                          c.      The third paragraph states: “The Committee reviewed the list of technical

                   standards that are acknowledged annually by the students especially the Emotional,

                   Attitudinal and Behavioral Skills.”

                          d.      The fourth paragraph states:

                                  Because the student’s behavior demonstrated his inability to
                                  meet several of those standards. Dr. Nathan made a motion to
                                  suspend Kieran Bhattacharya (Densmore) from the School of
                                  Medicine, effective immediately, with the option to petition to
                                  return in August of 2019. Dr. Behm seconded this motion. The
                                  committee voted unanimously to accept the motion. Nora Kern
                                  did not vote on the matter, as personal business required her to
                                  leave before the vote was executed.3




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         Although the minutes do not reflect this, Professor Kern was not present for any portion of the November 28, 2018
        meeting that Mr. Bhattacharya attended.
                                                                38
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 40 of 56 Pageid#: 620




                          e.     The fifth paragraph states: “A letter will be sent to Kieran Bhattacharya’s

                   email, informing him of the decision and explaining the appeals process.”

                   116.   On November 29, 2018 at 5:30 p.m., Dr. Tucker sent Mr. Bhattacharya an email

        (Exhibit 53) stating as follows:

                          Dear Mr. Bhattacharya, See the attached letter from the Academic
                          Standards and Achievement Committee. Please know that Drs.
                          Densmore, Reed, and Keeley are available for support. Also, in
                          response to your question about ID access, suspension involves a
                          deactivation of your ID per standard university procedure, but you can
                          make an appointment should you need to meet with your college dean.

        The attachment to the November 29, 2018 email was correspondence notifying Mr. Bhattacharya

        that he was being suspended from UVA Med School for a period of one year (the “November 29,

        2018 Suspension Letter”).

                   117.   The November 29, 2018 Suspension Letter consisted of four paragraphs.

                          a.     The first paragraph stated:

                                 The Academic Standards and Achievement Committee
                                 (“ASAC”) convened on November 28, 2018 to review
                                 concerns that your recent behavior in various settings
                                 demonstrated a failure to comply with the School of
                                 Medicine’s Technical Standards. Members of the Technical
                                 Standards Committee determined that the concerns about your
                                 recent behavior should be addressed by the Academic
                                 Standards and Achievement Committee. The ASAC decided
                                 that the nature of the concerns necessitated the calling of an
                                 emergency meeting. You were notified of that meeting on
                                 November 28, 2018 and provided an opportunity to be heard
                                 and to respond to the concerns about your recent behavior.
                                 You attended the meeting, asked and answered questions and
                                 presented information.

                          b.     The second paragraph stated:

                                 The Academic Standards and Achievement Committee has
                                 determined that your aggressive and inappropriate interactions
                                 in multiple situations, including in public settings, during a
                                 speaker’s lecture, with your Dean, and during the committee
                                 meeting yesterday, constitute a violation of the School of
                                                           39
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 41 of 56 Pageid#: 621




                                 Medicine’s Technical Standards that are found at:
                                 https://med.virginia.edu/student-affairs/policies/technical-
                                 standards/

                          c.     The third paragraph stated:

                                 Those Standards, in relevant and as part of professionalism,
                                 state that each student is responsible for: Demonstrating self-
                                 awareness and self-analysis of one’s emotional state and
                                 reactions; Modulating affect under adverse and stressful
                                 conditions and fatigue; Establishing effective working
                                 relationships with faculty, other professionals and students in
                                 a variety of environments; and Communicating in a non-
                                 judgmental way with persons whose beliefs and
                                 understandings differ from one’s own.

                          d.     The fourth paragraph stated:

                                 The committee has voted to suspend you from school,
                                 effective immediately. You may apply for readmission to
                                 return to class no earlier than August, 2019. A student
                                 suspended for academic, professionalism, or administrative
                                 reasons or a student who has academic or Technical
                                 Standards/professionalism deficiencies at the time of
                                 suspension must be reviewed and approved to return by
                                 ASAC. The committee would only approve your return if you
                                 are able to provide evidence that further violations of the
                                 Technical Standards are unlikely to occur. You may appeal
                                 your suspension, in accordance with the SOM’s appeal
                                 procedures.

                   118.   Other than the November 29, 2018 Suspension Letter, the only documentation that

        Mr. Bhattacharya ever received from UVA Med School about “aggressive and inappropriate

        interactions” that allegedly occurred in “public settings” was the November 15, 2018

        correspondence attached as Exhibit 36 regarding his questions and comments during the October

        25, 2018 AWMA Microaggression Panel Discussion. The November 29, 2018 Suspension Letter

        provided no details as to the nature, timing, location, severity, and/or identity of individuals reporting

        the “multiple aggressive and inappropriate interactions” that Mr. Bhattacharya had allegedly

        exhibited in “public settings.”

                                                           40
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 42 of 56 Pageid#: 622




                   119.   During the November 28, 2018 ASAC disciplinary hearing, no member of the

        Committee made any specific reference to or allegation of Mr. Bhattacharya’s alleged “multiple

        aggressive and inappropriate interactions” in multiple “public settings.” Nor did the Committee

        listen to the audio recording of what had transpired at the October 25, 2018 AMWA Microaggression

        Panel Discussion. Instead, the Committee relied upon the inaccurate and ideologically motivated

        characterization of Mr. Bhattacharya’s October 25, 2018 questions and comments by Individual Co-

        Conspirator Professor Kern—who also happened to be a member of the Committee. Professor Kern

        was, along with Individual Co-Conspirator Dean Peterson, present for the Committee meetings on

        November 14, 2018 and November 28, 2018.

                   120.   Before the November 28, 2018 ASAC disciplinary hearing, Mr. Bhattacharya was

        not provided with written documentation from UVA Med School of the “aggressive and

        inappropriate interactions” that Mr. Bhattacharya allegedly had “with [his] dean” (or the identity of

        the dean with whom he allegedly had such interaction).

                   121.   The November 29, 2018 Suspension Letter asserted that Mr. Bhattacharya’s conduct

        at the November 28, 2018 ASAC disciplinary hearing itself qualified as “aggressive and

        inappropriate” but provided no details to support this allegation. The minutes of the November 28,

        2018 ASAC disciplinary hearing provide no support for the characterization in the November 29,

        2018 Suspension Letter that Mr. Bhattacharya’s efforts to defend his continuing enrollment in UVA

        Med School had violated the Technical Standards by being “aggressive and inappropriate.”

                        (Mr. Bhattacharya Was Prevented From Appealing His Suspension
                                and Applying for Readmission to UVA Med School
                   Because the University Issued a Four-Year “No Trespass” Order Against Him)

                   122.   The November 29, 2018 Suspension Letter advised Mr. Bhattacharya that he had the

        option of appealing the suspension if he filed his appeal within 14 days. As a practical matter,


                                                         41
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 43 of 56 Pageid#: 623




        however, UVA Med School denied Mr. Bhattacharya the right to appeal his suspension and to apply

        for readmission based on a series of subterfuges, as described in the paragraphs that follow.

                   123.   Mr. Bhattacharya timely filed an appeal of his suspension by sending an email to Dr.

        Densmore on December 4, 2018 (Exhibit 54) to initiate the appeals process. Dr. Densmore

        responded by email later that day (Exhibit 55) acknowledging that the appeal process had been

        initiated and that additional information would be provided to Mr. Bhattacharya relating to the

        appeal.

                   124.   University Counsel, Ms. Fleming, did not acknowledge Mr. Bhattacharya’s interest

        in completing the appeals process until after he sent information about what had happened to him to

        a website known as Secure Drop. The SecureDrop website (https://securedrop.org) describes itself

        as “an open source whistleblower submission system that media organizations and NGOs can install

        to securely accept documents from anonymous sources. It was originally created by the late Aaron

        Swartz and is now managed by Freedom of the Press Foundation.” The website goes on to state that

        SecureDrop “is used at over 50 news organizations worldwide, including The New York Times, The

        Washington Post, ProPublica, The New Yorker, and The Intercept.”

                   125.   Had UVA Med School complied with its own appeal procedures (Exhibit 56), UVA

        Med School have conducted a hearing “as soon as possible (ordinarily within 14 days)” to review

        the suspension decision made on November 28, 2018. In this case, however, Mr. Bhattacharya did

        not receive his medical student file to prosecute his appeal until December 20, 2018—16 days after

        he initiated the appeals process. It was at this time, more than three weeks after his one-year

        suspension, that Mr. Bhattacharya was able to review for the very first time the Professional

        Concerns Card(s) in his medical student file. Mr. Bhattacharya did not receive his medical student

        file until several days after sending information about his situation to SecureDrop.


                                                           42
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 44 of 56 Pageid#: 624




                   126.   Meanwhile, on December 7, 2018—three days after Mr. Bhattacharya had initiated

        an appeal of his suspension—he received notice (Exhibit 57) from the National Board of Medical

        Examiners (“NBME”) that his registration for the United States Medical Licensing Exam Step 1

        (“USMLE Step 1”) had been cancelled because he was no longer enrolled at UVA Med School.

        Previously, Mr. Bhattacharya had been scheduled to take the USMLE Step 1 on February 1, 2019.

                   127.   On December 30, 2018, University Defendant Ms. Fielding—who was at the time a

        Police Captain with the University of Virginia Police Department (the “UVA Police Department”)—

        called Mr. Bhattacharya and advised him that the UVA Police Department was issuing him a “no

        trespass” warning. Mr. Bhattacharya requested additional information regarding the reason that he

        would no longer be welcome on the grounds of the University of Virginia, including UVA Med

        School. Ms. Fielding was unable or unwilling to provide any additional information regarding the

        reason for the “no trespass” warning.

                   128.   On January 2, 2019, Ms. Fielding sent a letter to Mr. Bhattacharya attaching a no

        trespass warning (the “No Trespass Order”) issued by the UVA Police Department (Exhibit 58).

        The No Trespass Order did not state the basis for its directive that “You are not to come on any

        property or facility on the Grounds of the University of Virginia except as a patient at the University

        of Virginia Medical Center.” (Id.) (emphasis in original).

                   129.   On January 3, 2019, Dr. Densmore sent Mr. Bhattacharya an email (Exhibit 59)

        stating that UVA Med School would “not be able to proceed with an appeal to your suspension at

        this time” because of the No Trespass Order.

                   130.   Thereafter, Mr. Bhattacharya contacted Ms. Fielding and requested that the No

        Trespass Order be rescinded. Ms. Fielding was unable or unwilling to do so and—once again—

        provided no information about the basis for the No Trespass Order. Ms. Fielding asserted that there


                                                          43
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 45 of 56 Pageid#: 625




        was no possibility of appeal at that time. At that point Mr. Bhattacharya said “thank you very much.”

        Ms. Fielding said “what?” In response, Mr. Bhattacharya again said “thank you very much” and

        ended the phone call.

                   131.     Following the telephone call, Ms. Fielding sent Mr. Bhattacharya an email (Exhibit

        60) stating in part as follows:

                            I am writing as a follow up to my call to you at 4:10 p.m. (EST), today.
                            You hung up on me before I could relay all of the information that I
                            was calling to discuss with you. As I stated on the phone, the trespass
                            notice issued to you is active and will remain active for the period
                            of time indicated on the form. If you violate it, you will be arrested.

        (emphasis in original).

                   132.     On July 7, 2019, Mr. Bhattacharya sent an email to UVA Med School Defendants

        Dr. Tucker and Dean Densmore inquiring about the possibility of readmission to the UVA Med

        School 2019. By email dated July 12, 2019 (Exhibit 61), Dean Densmore responded as follows:

                            Dear Kieran, Thank you for your email. The School of Medicine is
                            aware that a no trespass order was issued by the University Police
                            Department (UPD) on January 2, 2019 prohibiting you from
                            University Grounds for four years. We cannot address your request
                            for readmission while a no trespass order is in effect. Should you have
                            questions about that order, you will need to contact UPD directly. Best
                            regards, John Densmore.

                   133.     Therefore, Mr. Bhattacharya sought to have the UVA Police Department rescind the

        No Trespass Order and sought additional information from the UVA Police Department about the

        rationale for it.

                   134.     Following a telephone conversation with Ms. Fielding, Mr. Bhattacharya sent Ms.

        Fielding an email on July 13, 2019 at 6:16 a.m. (Exhibit 62). The email, on which Dean Densmore

        was shown as a cc: recipient, stated as follows:

                            During your time as Support Services Captain between December
                            2018-January 2019, you issued an NTO in my name (Kieran Ravi
                            Bhattacharya) and failed to provide me with any specific reasons for
                                                              44
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 46 of 56 Pageid#: 626




                          this order in your initial phone call before issuing it; failed to provide
                          me with any specific reason in the PDF that was forwarded to me by
                          John Densmore; failed to provide me with any specific reasons in
                          the physical document sent to the Haiku Post post office addressed
                          70 Hale Pili Way, failed to me [sic] with provide me with any
                          specific reasons during the attached e-mail follow up phone call that
                          is mentioned below, failed to provide any specific reasons during
                          the phone call mentioned in this e-mail, and finally: you failed to
                          mention in this e-mail that I ended this phone call after twice
                          providing you a curt parting gesture of “Thank you very much” after
                          you in a rather emotionally charged tone announced to me that there
                          was no possibility for appeal…and unsurprisingly failed again to
                          provide me with specific details as to what exactly I was appealing
                          in this NTO. I had already for this more than than [sic] 6 months
                          ago. I again ask that you provide me with specific reasons in
                          painstaking detail, dissolve the order immediately, or do both to
                          avoid the costly risk of taking this matter, should it be found to be
                          applicable under Diversity Jurisdiction (28 U.S.C. ss 1332) to the
                          United States District Court for the Western District of Virginia at
                          the earliest convenience of any and all parties involved.

                          Sincerely,
                          Kieran Ravi Bhattacharya

                   135.   On July 18, 2019, Mr. Bhattacharya received an email from Ms. Fielding, who had

        subsequently been promoted to Deputy Chief of the UVA Police Department. The July 18, 2019

        letter (Exhibit 63) stated that the No Trespass Order was issued “after concerns were raised about

        comments on a chat room that were perceived as threats.” The UVA Police Department did not

        identify who made the “comments,” the identity of the “chat room” on which the comments had

        been posted, the substance of the comments, and why they were “perceived as threats.” Mr.

        Bhattacharya was provided this scanty information seven months after receiving the No Trespass

        Order.

                   136.   By email that same day (Exhibit 64), Mr. Bhattacharya asked Ms. Fielding the

        following questions, to which she never responded:

                          -What comments specifically?
                          -Who threatened who exactly?

                                                              45
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 47 of 56 Pageid#: 627




                          -What chat room are you referring to and how does this at all relate
                          to my or anyone else’s safety at UVA?
                          -What community are you referring to?
                          -Who exactly, if not you, told you to issue this NTO?
                          -Why was none of this mentioned on the NTO issued more than 6
                          months ago?
                          -Was UPD able to make any arrests towards any of these perceived
                          threats?
                          -What exactly do you mean when you affirm that the NTO was not
                          a result of the suspension?

                   137.   On July 21, 2019, Mr. Bhattacharya submitted an appeal of the No Trespass Order to

        the UVA Police Department (Exhibit 65). By way of a letter from the UVA Police Department

        dated August 7, 2019 (Exhibit 66), the University upheld the No Trespass Order, stating:

                          The conduct you directed at members of the university community
                          compromised safety and security and caused fear. You are not
                          permitted to be on University property throughout the duration of this
                          trespass warning, which is currently effective until January 2, 2023.
                          This decision is final.

        To this day, Mr. Bhattacharya has not been told what conduct on his part supposedly “compromised

        safety and security and caused fear.” Absent this information, no neutral third party—such as this

        Court—can decide whether the University had any objectively reasonable basis for the No Trespass

        Order or whether it was part of the continuing effort by UVA Med School—at the behest of the

        Individual Co-Conspirators and others—to punish Mr. Bhattacharya for questions and comments

        during the October 25, 2018 AMWA Microaggression Panel Discussion with which certain

        individuals took issue.

                   138.   The No Trespass Order from the UVA Police Department does not expire until

        January 3, 2023. By the time that the No Trespass Order is scheduled to expire, Mr. Bhattacharya

        would be unable to complete his medical education even if his appeal were granted. UVA Med

        School’s Policy on Academic and Professional Advancement states: “All requirements for



                                                           46
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 48 of 56 Pageid#: 628




        graduation, including passing Step 1, Step 2 CK and Step 2 CS of the USMLE, must be completed

        within six years from the date the student matriculated in the School of Medicine.”

                                                        COUNT I

                      DEPRIVATION OF FIRST AMENDENT RIGHT OF FREE SPEECH
                                 IN VIOLATION OF 42 U.S.C. § 1983

                          (Against the University Defendants, the UVA Med School Defendants,
                                          and the Individual Co-Conspirators)

                   139.     Mr. Bhattacharya hereby incorporates by reference the allegations of Paragraphs 1

        through 138 of this Complaint.

                   140.     By asking questions and making comments at the October 25, 2018 AMWA

        Microaggression Panel Discussion, attempting to defend himself at the November 28, 2018 ASAC

        disciplinary hearing, and seeking to obtain press coverage of his wrongful suspension as described

        in the foregoing Paragraph 139, Mr. Bhattacharya engaged in speech that is protected by the First

        Amendment to the U.S. Constitution (the “Protected Free Speech”).

                   141.     By virtue of the Fourteenth Amendment to the U.S. Constitution, the University of

        Virginia—including UVA Med School—is subject to the First Amendment because it is an agency

        of the Commonwealth of Virginia.

                   142.     By engaging in the conduct described in the foregoing Paragraph 139—including

        retaliating against Mr. Bhattacharya for his Protected Free Speech by, inter alia, issuing a

        Professionalism Concern Card, disciplining Mr. Bhattacharya for his Protected Free Speech,

        requiring Mr. Bhattacharya to undergo counseling and obtain “medical clearance” as a prerequisite

        for remaining enrolled at UVA Med School, suspending Mr. Bhattacharya from UVA Med School,

        and preventing Mr. Bhattacharya from appealing his suspension or applying for readmission to UVA

        Med School by issuing and refusing to remove the No Trespass Order (collectively, the “Retaliatory


                                                            47
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 49 of 56 Pageid#: 629




        Conduct”)—the University of Virginia (including University Defendant Ms. Fielding), UVA Med

        School (including the UVA Med School Defendants), and the Individual Co-Conspirators infringed

        upon, chilled, and otherwise adversely affected Mr. Bhattacharya’s Protected Free Speech.

                   143.   The Retaliatory Conduct would deter a person of normal resolve from speaking freely

        at the University of Virginia, including UVA Med School.

                   144.   The Retaliatory Conduct is causally related to Mr. Bhattacharya’s Protected Free

        Speech. The UVA Med School Defendants and Individual Co-Conspirators have admitted this

        causal relationship in writing, e.g., in the following documents:

                          a.     Professor Kern’s Professionalism Concern Card (Exhibit 13);

                          b.     the minutes of the November 14, 2018 ASAC meeting (Exhibit 15);

                          c.     the November 15, 2018 ASAC correspondence (Exhibit 36);

                          d.     the minutes of the November 28, 2018 ASAC disciplinary hearing (Exhibit

                   49); and

                          e.     the November 29, 2018 Suspension Letter (Exhibit 53).

                   145.   But for Mr. Bhattacharya’s Protected Free Speech, the University of Virginia

        (including University Defendant Ms. Fielding), UVA Med School (including the UVA Med School

        Defendants), and the Individual Co-Conspirators would not have engaged in the Retaliatory

        Conduct.

                   146.   By engaging in the Retaliatory Conduct, the University of Virginia (including

        University Defendant Ms. Fielding), UVA Med School (including the UVA Med School

        Defendants), and the Individual Co-Conspirators violated 42 U.S.C. § 1983—making the University

        Defendants, the UVA Med School Defendants, and the Individual Co-Conspirators liable for

        injunctive relief, damages, and attorneys’ fees pursuant to 42 U.S.C. § 1988(b).


                                                          48
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 50 of 56 Pageid#: 630




                                                         COUNT II

                   DEPRIVATION OF FOURTEENTH AMENDENT RIGHT OF DUE PROCESS
                                  IN VIOLATION OF 42 U.S.C. § 1983

                          (Against the University Defendants, the UVA Med School Defendants,
                                          and the Individual Co-Conspirators)

                   147.     Mr. Bhattacharya hereby incorporates by reference the allegations of Paragraphs 1

        through 146 of this Complaint.

                   148.     Mr. Bhattacharya had a liberty interest in the Protected Free Speech.

                   149.     Mr. Bhattacharya had a liberty and property interest in continuing his medical studies

        at UVA Med School and pursuing the practice of medicine.

                   150.     By engaging in the Retaliatory Conduct, the University of Virginia (including

        University Defendant Ms. Fielding), UVA Med School (including the UVA Med School

        Defendants), and the Individual Co-Conspirators deprived Mr. Bhattacharya of the liberty and

        property interests described in Paragraphs 148 and 149.

                   151.     By engaging in the Retaliatory Conduct, the University of Virginia (including

        University Defendant Ms. Fielding), UVA Med School (including the UVA Med School

        Defendants), and the Individual Co-Conspirators violated the policies and procedures of UVA Med

        School, including the Academic Standards and Achievement Committee Operating Procedures

        (Exhibit 45), by, inter alia:

                            a.     failing to notify Mr. Bhattacharya of the issuance of the Professionalism

                   Concern Card issued by Professor Kern and affirmatively concealing its existence from him;

                            b.     failing to have Mr. Bhattacharya’s “college dean” discuss the Professionalism

                   Concern Card with him and document the discussion;




                                                              49
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 51 of 56 Pageid#: 631




                          c.     failing to provide Mr. Bhattacharya with the Professionalism Concern Card

                   issued by Professor Kern in advance of the November 28, 2018 ASAC disciplinary hearing

                   or at any other time before his suspension from UVA Med School;

                          d.     allowing Professor Kern to vote at the November 14, 2018 ASAC meeting;

                          e.     failing to provide Mr. Bhattacharya with sufficient notice of the November

                   28, 2018 ASAC disciplinary hearing or its basis for Mr. Bhattacharya to have adequate

                   opportunity to defend himself; and

                          f.     using Mr. Bhattacharya’s defense of himself at the November 28, 2018 ASAC

                   disciplinary hearing as a basis for his suspension as set forth in the November 29, 2019

                   Suspension Letter.

                   152.   The conduct described in the foregoing Paragraphs 147 through 151 deprived Mr.

        Bhattacharya of notice and opportunity to be heard and otherwise deprived Mr. Bhattacharya of due

        process in violation of the Fourteenth Amendment to the U.S. Constitution and 42 U.S.C. § 1983—

        making the University Defendants, the UVA Med School Defendants, and the Individual Co-

        Conspirators liable for injunctive relief, damages, and attorneys’ fees pursuant to 42 U.S.C. §

        1988(b).

                                                        COUNT III

                               CONSPIRACY TO INTERFERE WITH CIVIL RIGHTS
                                     IN VIOLATIONOF 42 U.S.C. § 1985(3)

                                        (Against the Individual Co-Conspirators)

                   153.   Mr. Bhattacharya hereby incorporates by reference the allegations of Paragraphs 1

        through 152 of this Complaint.

                   154.   By engaging in the conduct described in Paragraph 153 of this Complaint, the

        Individual Co-Conspirators conspired with one another and with the University of Virginia

                                                           50
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 52 of 56 Pageid#: 632




        (including University Defendant Ms. Fielding) and UVA Med School (including the UVA Med

        School Defendants) to deprive Mr. Bhattacharya of the equal enjoyment of rights secured to all by

        law, including the First and Fourteenth Amendments to the U.S. Constitution (the “Unlawful

        Conspiracy”).

                   155.   The Individual Co-Conspirators had a meeting of the minds to deprive Mr.

        Bhattacharya of his First and Fourteenth Amendment rights.

                   156.   The Unlawful Conspiracy was motivated by a specific class-based, invidiously

        discriminatory animus against anyone who disagrees with the ideological views of the Individual

        Co-Conspirators and the sponsors of the AMWA Microaggression Panel Discussion.

                   157.   The Unlawful Conspiracy resulted in injury to Mr. Bhattacharya—including

        deprivation of his First and Fourteenth Amendment rights, his suspension from UVA Med School,

        and his inability to pursue his chosen profession of medicine.

                   158.   The conduct described in the foregoing Paragraphs 153 through 157 of this Complaint

        violated 42 U.S.C. § 1985(3), entitling Mr. Bhattacharya to recover damages from the Individual

        Co-Conspirators.

                                                      COUNT IV

                               CONSPIRACY TO INJURE MR. BHATTACHARYA
                                IN HIS TRADE, BUSINESS, AND PROFESSION

                                      (Against the Individual Co-Conspirators)

                   159.   Mr. Bhattacharya hereby incorporates by reference the allegations of Paragraphs 1

        through 158 of this Complaint.

                   160.   With the willful and malicious intention of injuring Mr. Bhattacharya in his trade,

        business, and profession, the Individual Co-Conspirators conspired with one another and with third

        parties. These third parties with whom the Individual Co-Conspirators conspired in violation of

                                                          51
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 53 of 56 Pageid#: 633




        Virginia Code § 18.2-499 include the UVA Med School Defendants, Dean Thomas, and other

        individuals who disagreed with Mr. Bhattacharya’s questions and comments at the AMWA

        Microaggression Panel Discussion. The unlawful purposes of the foregoing conspiracy included

        depriving Mr. Bhattacharya of the ability to complete his medical school studies and enter the

        medical profession.

                   161.   Although the Individual Co-Conspirators are employees of UVA Med School, they

        had an independent personal stake in the conspiracy that went beyond—and was actually contrary

        to—their duties and responsibilities as members of the faculty and administration of UVA Med

        School. The Individual Co-Conspirators’ independent personal stake included their allegiance to

        the AMWA chapter for which the AMWA Microaggression Panel Discussion was the first scheduled

        event, and their ideology.

                   162.   By engaging in the conduct described in Paragraphs 159 through 161 of this

        Complaint, the Individual Co-Conspirators acted intentionally, purposefully, and without legal

        justification to injure Mr. Bhattacharya in his trade, business, and profession.

                   163.   The damage caused by the combined acts of the Individual Co-Conspirators

        described in Paragraphs 159 through 161 of this Complaint was committed in pursuance of the

        foregoing conspiracy.

                   164.   As a result of the conspiracy described in Paragraphs 159 through 161 of this

        Complaint, Mr. Bhattacharya is entitled by virtue of Virginia Code § 18.2-500 to three times his

        actual damages (including tuition and expenses associated with his attendance at UVA Med School

        and the net present value of his anticipated earnings as a physician), together with prejudgment and

        post-judgment interest thereon, and reasonable attorneys’ fees and costs.




                                                          52
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 54 of 56 Pageid#: 634




                   165.   Va. Code § 18.2-500 also allows for the issuance of injunctive relief to prevent the

        continuance of the conspiracy.

                                               PRAYER FOR RELIEF

                   WHEREFORE, Plaintiff Kieran Bhattacharya prays that the Court:

                   (A)    Order the University Defendants to dissolve the existing No Trespass Order issued

        by the UVA Police Department;

                   (B)    Order the UVA Med School Defendants to remove all references to the

        Professionalism Concern Cards, the AMWA Microaggression Panel Discussion, and his suspension

        from Mr. Bhattacharya’s medical student file;

                   (C)    Order the UVA Med School Defendants to allow Mr. Bhattacharya to re-enroll in

        UVA Med School as soon as possible and to deem his matriculation date, for purposes of fulfilling

        UVA Med School’s graduation requirements, to be the date of reenrollment;

                   (D)    Order the UVA Med School Defendants to allow Mr. Bhattacharya to register for the

        USMLE Step 1 as soon as possible by immediately notifying the NBME of Mr. Bhattacharya’s

        enrollment status at UVA Med School;

                   (E)    Award compensatory damages in favor of Mr. Bhattacharya for lost potential future

        income, harm to professional reputation, and out-of-pocket expenses against the University

        Defendants, the UVA Med School Defendants, and the Individual Co-Conspirators;

                   (F)    Award Mr. Bhattacharya treble damages against the Individual Co-Conspirators

        pursuant to Virginia Code § 18.2-500;

                   (G)    Award Mr. Bhattacharya costs and attorneys’ fees against the University Defendants,

        the UVA Med School Defendants, and the Individual Co-Conspirators; and




                                                           53
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 55 of 56 Pageid#: 635




                   (H)    Award Mr. Bhattacharya such other and further relief as this Court deems just and

        proper under the circumstances.

                                              JURY TRIAL DEMANDED

                   Mr. Bhattacharya hereby demands trial by jury of all issues so triable.


    Date: February 3, 2020                               Respectfully submitted,

                                                         KIERAN RAVI BHATTACHARYA

                                                         By:             s/ Michael J. Lockerby
                                                                                 Counsel

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                                                            54
4841-6080-5040.8
     Case 3:19-cv-00054-NKM-JCH Document 33 Filed 02/19/20 Page 56 of 56 Pageid#: 636




                                            CERTIFICATE OF SERVICE

                   I hereby certify that on this 3rd day of February, 2020, I electronically filed the foregoing

        FIRST AMENDED COMPLAINT with the Clerk of the Court using the CM/ECF system and will

        send the foregoing FIRST AMENDED COMPLAINT via email to the following counsel of record:

                                  Madeline M. Gibson, Esq.
                                  Assistant Attorney General
                                  Office of the Virginia Attorney General
                                  Commonwealth of Virginia
                                  202 North Ninth Street
                                  Richmond, Virginia 23219


                                                           s/ Michael J. Lockerby
                                                        Michael J. Lockerby (VSB No. 24003)
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                                                            55
4841-6080-5040.8
